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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:07CR290
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
GANNY T. PARKER,                              )
                                              )
              Defendant.                      )


       The Court has received the Revised Presentence Investigation Report (“PSR”). No

objections were filed as required; however objections appear in the Addendum, to the PSR.

See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The plea agreement provides that the Defendant, Ganny T. Parker, is responsible

for at least 20 but less than 40 kilograms of marijuana and therefore his base offense level

is 18. The PSR states that he is responsible for 10.75 kilograms of marijuana and that his

base offense level is 16. The PSR includes a 2-level enhancement under U.S.S.G. §

2D1.1(b)(1) for possession of a firearm and ammunition in relation to the offense. The

PSR also includes a career offender adjustment. The Defendant raises several objections,

which are briefly discussed below.

¶ 19 - Cash Conversion/Drug Amount

       Even with the cash conversion in the PSR, the drug amount and base offense level

are less than those envisioned in the plea agreement. The objection is denied.
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¶ 27 - Gun Enhancement

       The objection will be heard at sentencing, unless it has been withdrawn. The

burden is on the government by a preponderance of the evidence.

¶¶ 33, 36 - Total Offense Levels

       The objection is denied for the reasons stated in the Addendum. The Court notes

that the Addendum reflects no objection to the Defendant’s career offender status, which

is a factor relating to the final total offense level.

¶¶ 43, 47 - Prior Offense

       The Court is without information relating to the Defendant’s objection. Nevertheless,

unless the issue is waived the matter will be heard at sentencing, in particular as this prior

conviction also results in two additional criminal history points in ¶ 47. The government has

the burden by a preponderance of the evidence.

¶ 45 - Alleged Gang Activity

       The objection to this paragraph is denied. The information does not affect the

guideline calculation and is useful to the Bureau of Prisons.

       The Court advises counsel that it cannot adequately address objections which it has

not read. This is the case in situations such as the instant case in which objections are not

filed with the Court but rather were merely communicated to the probation officer. Counsel

is advised to abide by the requirements of ¶ 6 of the Order on Sentencing Schedule and

either file objections or a “Statement” indicating that, despite objections referred to in the

Addendum, the party has no objections to the PSR.




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       IT IS ORDERED:

       1.     The Defendant’s Objections to ¶¶ 19, 33, 36, and 45 of the PSR (Addendum)

are denied;

       2.     The Defendant’s objections to ¶¶ 27, 43, and 47 of the PSR (Addendum) will

be heard at sentencing, unless the objections are waived;

       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 2nd day of September, 2008.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           United States District Judge



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